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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:91-cr-01032-MP-AK

PABLO EDMUNDO CRUZ,

      Defendant.
___________________________/

                                            ORDER

       This matter is before the Court on Doc. 827, Mr. Cruz's Motion for Reconsideration of

the order at Doc. 811. On January 29, 2004, Mr. Cruz was found to have violated his supervised

release and was sentenced to 60 months imprisonment. At the close of the hearing, the

defendant asked the Court to address the issue of whether the time served in state prison could

count toward his federal sentence. The Court informed Mr. Cruz that such matters are typically

left to the Bureau of Prisons.

       Later, when the Federal Bureau of Prisons addressed the time served issue, it sent the

Court a letter. The letter asked if the Court objected to Mr. Cruz' state facility being designated,

nunc pro tunc, as the place for serving his federal sentence, thus making the two sentences

effectively concurrent. In the order at doc. 811, the Court responded by objecting to the

designation as inconsistent with the Court's concerns in sentencing Mr. Cruz. Mr. Cruz now

seeks to have the Court reconsider that order, arguing that the response to the Bureau of Prisons

was inconsistent with the statement during the January 29, 2004, revocation hearing that the

Court would leave the time-served issue to the Bureau of Prisons. The motion is denied. The

issues of designation and credit for time served are still being addressed by the Bureau of
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Prisons, and it is not inappropriate for the Bureau of Prisons to seek this Court's response

regarding designation. Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        The motion for reconsideration, doc. 827, is denied.

        DONE AND ORDERED this 9th day of January, 2007


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge




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